          Case 1:17-cv-00148-SPB Document 70 Filed 04/08/19 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

NANCY E. LEWEN,                                )
                                               )
                       Plaintiff,              )
                                               )
               vs.                                     Case No. 1:17-cv-148
                                               )       Judge Susan Paradise Baxter
PENNSYLVANIA SOLDIERS’ AND                     )
SAILORS’ HOME, et al,                          )
                                               )
                       Defendants.             )

                                      ORDER OF COURT


               AND NOW, this 8th day of April, 2019, counsel for all parties having been
identified on the record, IT IS HEREBY ORDERED as follows:
               1.      Initial Case Management Conference. Pursuant to Local Rule 16.1,
an Initial Case Management Conference shall be held before the undersigned on April 30, 2019
at 11:00 a.m., Room A240, United States District Court, 17 South Park Row, Erie, PA. At the
conference, the parties will discuss narrowing of the issues, the extent of pretrial preparation,
discovery procedures, the early disposition of controlling questions of law, the probable extent
of provable damages, the possibility of settlement, the designation of an Alternative Dispute
Resolution process, and any other matter that will contribute to the prompt disposition of the
case.
                      Trial counsel and all unrepresented parties shall be present at the
conference.    If trial counsel is unable to attend, the Court will require the presence of
substitute counsel who is fully informed as to the status of the case and who is authorized to
make binding agreements on behalf of the client and trial counsel.
               2.     Rule 26(f) Conference.       Pursuant to Rule 26(f), and not withstanding
          Case 1:17-cv-00148-SPB Document 70 Filed 04/08/19 Page 2 of 2




the pendency of any outstanding motion, the parties MUST confer to consider the nature and
basis of their claims and defenses and the possibilities for a prompt settlement or resolution of
the case and to make arrangements for the disclosures required by Rule 26(a)(1) on or before
April 22, 2019. Plaintiff shall initiate this conference; however, the Court will hold all parties
responsible for ensuring that this conference is held in a timely manner.
                3.    Rule 26(f) Report. The parties MUST confer as necessary and MUST
file with the Court the Stipulation Selecting ADR Process and the Rule 26(f) Report on or
before April 25, 2019. The parties may decide who will prepare and file the Stipulation and
Rule 26(f) Report; however, the Court will hold all parties responsible for ensuring that the
Stipulation and Report are filed in the correct form and in a timely manner. This Court
requires strict compliance with Rule 26.
        THE PARTIES ARE HEREBY NOTIFIED THAT ANY IDENTIFIED
NEUTRAL (COURT APPROVED OR PRIVATE) IS REQUIRED TO BECOME A
REGISTERED USER OF THE ELECTRONIC CASE FILING SYSTEM IN THE
UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
PENNSYLVANIA. COUNSEL SHALL SO NOTIFY THEIR AGREED UPON
NEUTRAL AND REFER THEM TO THE COURT=S WEBSITE AT
WWW.PAWD.USCOURTS.GOV FOR USER REGISTRATION FORMS. COUNSEL
SHALL CONFIRM TO THE COURT AT THE INITIAL CASE MANAGEMENT
CONFERENCE THAT THE SELECTED NEUTRAL HAS COMPLETED THIS
PROCESS.


                                              s/ Susan Paradise Baxter
                                              SUSAN PARADISE BAXTER
                                              United States District Judge



cc: all parties of record (lw)
